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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 2:14-CR-00239-GEB-4
11
                                 Plaintiff,             ORDER SEALING DOCUMENTS
12                                                      AS SET FORTH IN GOVERNMENT’S NOTICE
                            v.
13
     MARCO BORJA,
14
                                 Defendant.
15

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17          Pursuant to Local Rule 141(b), and based upon the representation contained in the Government’s
18 Request to Seal, IT IS HEREBY ORDERED that the government’s two-page supplement to its

19 sentencing memorandum pertaining to defendant MARCO BORJA, and government’s Request to Seal,

20 shall be SEALED until further order of this Court.

21          IT IS FURTHER ORDERED that access to the sealed documents shall be limited to the
22 government and counsel for the defendant.

23                                              [End of page.]
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     [PROPOSED] ORDER SEALING                    Page 1 of 2
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              Case 2:14-cr-00239-KJM Document 112 Filed 09/15/16 Page 2 of 2

 1          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court for

 2 the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in the

 3 government’s request, sealing the aforementioned memorandum serves a compelling interest.

 4          The Court further finds that, in the absence of closure, the compelling interests identified by the

 5 government would be harmed. In light of the public filing of its request to seal, the Court further finds that

 6 there are no additional alternatives to sealing the government’s memorandum that would adequately protect

 7 the compelling interests identified by the government.

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     Dated: September 14, 2016
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     [PROPOSED] ORDER SEALING                       Page 2 of 2
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     GOVERNMENT’S NOTICE
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